      Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 1 of 15 PageID: 1




    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com
    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admitted pro hac vice)
    ATTORNEYS FOR DEBTOR

    In re:                                                           Chapter 11

                                                                     Case No.: 23-12825 (MBK)
    LTL MANAGEMENT LLC,1
                                                                     Judge: Michael B. Kaplan
                                Debtor.


                                                NOTICE OF APPEAL

Part 1: Identify the appellant

             Name of appellant: LLT Management LLC, formerly known as LTL Management LLC

    ³LTL´ .2




1
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             501 George Street, New Brunswick, New Jersey 08933.
2
             On December 29, 2023, LTL Management LLC changed its name to LLT Management LLC.
   Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 2 of 15 PageID: 2




          Position of appellant in the bankruptcy case that is the subject of this appeal: LTL is the

debtor.

Part 2: Identify the subject of this appeal

          Describe the judgment, order, or decree appealed from: Under 28 U.S.C. § 158 and

Federal Rules of Bankruptcy Procedure 8002 and 8003, Appellant hereby gives notice of appeal

to the United States District Court IRUWKH'LVWULFWRI1HZ-HUVH\IURPWKH%DQNUXSWF\&RXUW¶V

Order Awarding Fees to Houlihan Lokey Capital, Inc. [Dkt. 1579] WKH³Fee Order´ , attached as

Exhibit A to the Declaration of James N. Lawlor, filed contemporaneously herewith (the

³Counsel Declaration´ DQGOrder Denying Motion or Application for the Entry of an Order to

Reconsider [Dkt. 1628] WKH³Reconsideration Order´ , attached as Exhibit B to the Counsel

Declaration.

          State the date on which the judgment, order, or decree was entered: The Fee Order was

entered on November 14, 2023. The court entered the Reconsideration Order on December 21,

2023.

Part 3: Identify the other parties to the appeal

          The names of all parties to the judgment, order, or decree appealed from and the names,

addresses, and telephone numbers of their attorneys are attached as Exhibit C to the Counsel

Declaration.

Part 4: Optional election to have appeal heard by District Court

          Not applicable in this judicial district.




                                                      -2-
   Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 3 of 15 PageID: 3




Part 5: Sign Below

Dated: January 4, 2024

                                           WOLLMUTH MAHER & DEUTSCH
                                           LLP

                                           /s/ Paul DeFilippo
                                           Paul R. DeFilippo, Esq.
                                           James N. Lawlor, Esq.
                                           Joseph F. Pacelli, Esq. (admitted pro hac vice)
                                           500 Fifth Avenue
                                           New York, NY 10110
                                           Telephone: (212) 382-3300
                                           Facsimile: (212) 382-0050
                                           pdefilippo@wmd-law.com
                                           jlawlor@wmd-law.com
                                           jpacelli@wmd-law.com

                                           JONES DAY
                                           Gregory M. Gordon, Esq.
                                           Brad B. Erens, Esq.
                                           Dan B. Prieto, Esq.
                                           Amanda Rush, Esq.
                                           2727 N. Harwood Street
                                           Dallas, TX 75201
                                           Telephone: (214) 220-3939
                                           Facsimile: (214) 969-5100
                                           gmgordon@jonesday.com
                                           bberens@jonesday.com
                                           dbprieto@jonesday.com
                                           asrush@jonesday.com
                                           (Admitted pro hac vice)

                                           Attorneys for Debtor




                                     -3-
      Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 4 of 15 PageID: 4




    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com
    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admitted pro hac vice)
    ATTORNEYS FOR DEBTOR

    In re:                                                           Chapter 11

                                                                     Case No.: 23-12825 (MBK)
    LTL MANAGEMENT LLC,1
                                                                     Judge: Michael B. Kaplan
                                Debtor.

       DECLARATION OF JAMES N. LAWLOR REGARDING NOTICE OF APPEAL

             I, James N. Lawlor, hereby declare under penalty of perjury:

             1.       I am a partner of the law firm of Wollmuth Maher & Deutsch LLP, and my office

is located at 500 5th Avenue, New York, NY 10110. I am a member in good standing of the Bar

of New Jersey. There are no disciplinary proceedings pending against me.




1
             The last IRXUGLJLWVRIWKH'HEWRU¶VWD[SD\HULGHQWLILFDWLRQQXPEHUDUH7KH'HEWRU¶VDGGUHVVLV
             501 George Street, New Brunswick, New Jersey 08933.
   Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 5 of 15 PageID: 5




          2.     I submit thiVGHFODUDWLRQ WKH³Declaration´ LQFRQQHFWLRQZLWKWKHNotice of

Appeal filed contemporaneously herewith. I have personal knowledge of the matters set forth

herein.

          3.     Attached hereto as Exhibit A is a true and correct copy of the Order Awarding

Fees to Houlihan Lokey Capital, Inc., dated November 14, 2023 [Dkt. 1579].

          4.     Attached hereto as Exhibit B is a true and correct copy of the Reconsideration

Order Denying Motion or Application for the Entry of an Order to Reconsider, dated December

21, 2023 [Dkt. 1628].

          5.     Attached hereto as Exhibit C is a true and correct list of the names of all parties to

the judgment, order, or decree appealed from and the names, addresses, and telephone numbers

of their attorneys.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



Dated: January 4, 2024                                  Respectfully submitted,

                                                        /s/ James N. Lawlor
                                                        James N. Lawlor




                                                  -2-
Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 6 of 15 PageID: 6




                    EXHIBIT A
   Case Case
        23-12825-MBK    Doc 1579 Document
             3:24-cv-00082-MAS     Filed 11/14/23
                                            1 Filed Entered
                                                    01/05/2411/14/23
                                                              Page 708:46:27   Desc
                                                                     of 15 PageID: 7 Main
                                 Document      Page 1 of 3




                                                                                     Order Filed on November 14, 2023
                                                                                     by Clerk
                                                                                     U.S. Bankruptcy Court
                                                                                     District of New Jersey




         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY
                                                                 Chapter 11
         In re:
         LTL MANAGEMENT LLC,1                                    Case No.: 23-12825 (MBK)

                                 Debtor.                         Honorable Michael B. Kaplan


                ORDER AWARDING FEES TO HOULIHAN LOKEY CAPITAL, INC.




              The relief set forth on the following pages is ORDERED.




DATED: November 14, 2023




     1
          The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
          Street, New Brunswick, New Jersey 08933.
Case Case
     23-12825-MBK    Doc 1579 Document
          3:24-cv-00082-MAS     Filed 11/14/23
                                         1 Filed Entered
                                                 01/05/2411/14/23
                                                           Page 808:46:27   Desc
                                                                  of 15 PageID: 8 Main
                              Document      Page 2 of 3



   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b)
   GENOVA BURNS LLC                                  BROWN RUDNICK LLP
   Daniel M. Stolz, Esq.                             David J. Molton, Esq.
   Donald W. Clarke, Esq.                            Robert J. Stark, Esq.
   Gregory S. Kinoian, Esq.                          Michael S. Winograd, Esq.
   dstolz@genovaburns.com                            Eric R. Goodman, Esq.
   dclarke@genovaburns.com                           dmolton@brownrudnick.com
   gkinoian@genovaburns.com                          rstark@brownrudnick.com
   110 Allen Road, Suite 304                         mwinograd@brownrudnick.com
   Basking Ridge, NJ 07920                           egoodman@brownrudnick.com
   Tel: (973) 533-0777                               Seven Times Square
   Fax: (973) 533-1112                               New York, NY 10036
   Proposed Local Counsel for the Official           Tel: (212) 209-4800
   Committee of Talc Claimants                       Fax: (212) 209-4801

                                                     and

                                                     Jeffrey L. Jonas, Esq.
                                                     Sunni P. Beville, Esq.
                                                     jjonas@brownrudnick.com
                                                     sbeville@brownrudnick.com
                                                     One Financial Center
                                                     Boston, MA 02111
                                                     Tel: (617) 856-8200
                                                     Fax: (617) 856-8201
                                                     Co-Counsel for the
                                                     Official Committee of Talc Claimants

   MASSEY & GAIL LLP                                  OTTERBOURG PC
   Jonathan S. Massey, Esq.                          Melanie L. Cyganowski, Esq.
   Rachel S. Morse, Esq.                             Jennifer S. Feeney, Esq.
   jmassey@masseygail.com                            Michael R. Maizel, Esq.
   rmorse@masseygail.com                             mcyganowski@otterbourg.com
   1000 Maine Ave. SW, Suite 450                     jfeeney@otterbourg.com
   Washington, DC 20024                              mmaizel@otterbourg.com
   Tel: (202) 652-4511                               230 Park Avenue
   Fax: (312) 379-0467                               New York, NY 10169
   Proposed Co-Counsel for the Official Committee    Tel: (212) 905-3628
   of Talc Claimants                                 Fax: (212) 682-6104
                                                     Proposed Co-Counsel for the Official
                                                      Committee of Talc Claimants
Case Case
     23-12825-MBK    Doc 1579 Document
          3:24-cv-00082-MAS     Filed 11/14/23
                                         1 Filed Entered
                                                 01/05/2411/14/23
                                                           Page 908:46:27   Desc
                                                                  of 15 PageID: 9 Main
                              Document      Page 3 of 3




          THIS MATTER, having come before the Court on the Final Application for Compensation of

  Houlihan Lokey Capital, Inc., Investment Banker to the Talc Claimants Committee, and the Court having

  issued an opinion dated November 7, 2023 [dkt #1571] awarding fees to Houlihan Lokey Capital, Inc., and

  good cause appearing for the entry of the within Order,

          IT IS HEREBY ORDERED AS FOLLOWS:

          1.    Houlihan Lokey Capital, Inc. be and is hereby awarded monthly fees in the amount of

                $1,363,709.68, together with expenses in the amount of $2,786.36.

          2.    Houlihan Lokey Capital, Inc. be and is hereby awarded a net discretionary fee in the amount

                of $1,750,000.00.

          3.    The Debtor be and is hereby directed to pay the foregoing amounts to Houlihan Lokey

                Capital, Inc.
Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 10 of 15 PageID: 10




                     EXHIBIT %
   CaseCase
        23-12825-MBK    Doc 1628
            3:24-cv-00082-MAS      Filed 12/21/23
                               Document            Entered 12/21/23
                                          1 Filed 01/05/24  Page 1116:11:42   Desc
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UNITED STATES BANKRUPTCY COURT   Document      Page 1 of 2
DISTRICT OF NEW JERSEY
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                                                                         Order Filed on December 21, 2023
                                                                         by Clerk
                                                                         U.S. Bankruptcy Court
                                                                         District of New Jersey



In Re:                                                   Case No.:           23-12825-MBK
                                                                          ____________________
 LTL Management LLC                                                          12/21/23
                                                         Hearing Date: ____________________

                                                         Judge:          _____________________
                                                                          Chief Judge Michael B. Kaplan

                                                         Chapter:                   11
                                                                          _____________________




                Recommended Local Form:            ✔
                                                   w    Followed         w     Modified




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                                       to Reconsider (doc # 1597)


         The relief set forth on the following page is hereby 25'(5('.




DATED: December 21, 2023
         CaseCase
              23-12825-MBK    Doc 1628
                  3:24-cv-00082-MAS      Filed 12/21/23
                                     Document            Entered 12/21/23
                                                1 Filed 01/05/24  Page 1216:11:42   Desc
                                                                          of 15 PageID: 12Main
                                       Document      Page 2 of 2




                                                                    November 28
                   A motion or application having been filed on ____________________,    23 by
                                                                                      20 ___
Paul R. DeFilippo on behalf of LTL Management LLC. for entry of an order as set forth above, all
            ___________________________________
            interested parties having been duly served, the Court having considered all of the papers
            submitted, along with any arguments of counsel, and for good cause shown; it is


                   ORDERED that the aforesaid motion or application is denied.


                   The successful party shall serve this order on the debtor, any trustee and all parties who
            entered an appearance on this matter.




                                                                                                     Rev. 7/1/04; jml



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Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 13 of 15 PageID: 13




                     EXHIBIT &
 Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 14 of 15 PageID: 14




                  Party                                         Attorney
Movant ± Houlihan Lokey Capital, Inc.           N/A

Houlihan Lokey Capital, Inc.
245 Park Avenue, 20th Floor
New York, NY 10167

Party in Interest ± the Official Committee of   GENOVA BURNS LLC
Talc Claimants
                                                Daniel M. Stolz, Esq.
                                                Donald W. Clarke, Esq.
                                                110 Allen Road, Suite 304
                                                Basking Ridge, NJ 07920
                                                Telephone: (973) 467-2700
                                                Facsimile: (973) 467-8126
                                                dstolz@genovaburns.com
                                                dclarke@genovaburns.com

                                                MASSEY & GAIL LLP

                                                Jonathan S. Massey, Esq.
                                                Bret R. Vallacher, Esq.
                                                jmassey@masseygail.com
                                                bvallacher@masseygail.com
                                                1000 Maine Ave. SW, Suite 450
                                                Washington, DC 20024
                                                Tel: (202) 652-4511
                                                Fax: (312) 379-0467

                                                BROWN RUDNICK LLP

                                                David J. Molton, Esq.
                                                Jeffrey L. Jonas, Esq.
                                                Michael S. Winograd, Esq.
                                                Seven Times Square
                                                New York, NY 10036
                                                Telephone: (212) 209-4800
                                                Facsimile: (212) 209-4801
                                                dmolton@brownrudnick.com
                                                jjonas@brownrudnick.com
                                                mwinograd@brownrudnick.com
 Case 3:24-cv-00082-MAS Document 1 Filed 01/05/24 Page 15 of 15 PageID: 15




                                                  -and-

                                                  Sunni P. Beville, Esq.
                                                  One Financial Center
                                                  Boston, MA 02111
                                                  Telephone: (617) 856-8200
                                                  Facsimile: (617) 856-8201
                                                  sbeville@brownrudnick.com

                                                  OTTERBOURG P.C.

                                                  Melanie L. Cyganowski, Esq.
                                                  Adam C. Silverstein, Esq.
                                                  Jennifer S. Feeney, Esq.
                                                  Michael R. Maizel, Esq.
                                                  mcyganowski@otterbourg.com
                                                  asilverstein@otterbourg.com
                                                  jfeeney@otterbourg.com
                                                  mmaizel@otterbourg.com
                                                  230 Park Avenue
                                                  New York, NY 10169
                                                  Tel: (212) 661-9100
                                                  Fax: (212) 682-6104

Party in Interest - The Office of the United      ANDREW R. VARA UNITED STATES
States Trustee for the District of New Jersey     TRUSTEE REGIONS 3 & 9

                                                  Jeffrey M. Sponder
                                                  Lauren Bielskie
                                                  United States Department of Justice
                                                  Office of the United States Trustee
                                                  One Newark Center, Suite 2100
                                                  Newark, NJ 07102
                                                   FRQW¶G

                                                  Linda Richenderfer
                                                  Trial Attorney
                                                  United States Department of Justice
                                                  Office of the United States Trustee
                                                  J. Caleb Boggs Federal Building
                                                  844 King Street, Suite 2207, Lockbox 35
                                                  Wilmington, DE 19801
                                                  Telephone: (302) 573-6491
                                                  linda.richenderfer@usdoj.gov




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